                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             CENTRAL DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                No. CR06-3014-MWB
 vs.                                           ORDER ACCEPTING MAGISTRATE
                                                    JUDGE’S REPORT AND
 THOMAS FRANCIS CARROLL, a/k/a
                                               RECOMMENDATION REGARDING
 “East Coast Tom,”
                                                 DEFENDANT’S GUILTY PLEA
               Defendant.
                                 ____________________

                      I. INTRODUCTION AND BACKGROUND
        On November 13, 2006, an information was filed against defendant Thomas Francis
Carroll, charging him with conspiracy to distribute and possess with intent to distribute 500
grams or more of pure methamphetamine within 1000 feet of a school, in violation of 21
U.S.C. §§ 841(a)(1), 841(b)(1)(A), 846 and 860(a), possessing with intent to distribute
5 grams or more of pure methamphetamine within 1000 feet of a school, in violation of
21 U.S.C. §§ 841(a)(1), 841(b)(1)(B), and 860(a), possession of a firearms and
ammunition in furtherance of drug trafficking crimes, in violation of 18 U.S.C.
§ 924(c)(1)(A)(iii), and possession of a firearm from which the manufacturer’s serial
number had been obliterated, in violation of 18 U.S.C. §§ 922(k) and 924(a)(1)(B) . On
November 13, 2006, defendant appeared before United States Magistrate Judge Paul A.
Zoss and entered a plea of guilty to Count 1, 2, 3 and 4 of the information. On this same
date, Judge Zoss filed a Report and Recommendation in which he recommends that
defendant’s guilty plea be accepted.        No objections to Judge Zoss’s Report and
Recommendation were filed. The court, therefore, undertakes the necessary review of
Judge Zoss’s recommendation to accept defendant’s plea in this case.




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                                    II. ANALYSIS
      Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
             A judge of the court shall make a de novo determination of
             those portions of the report or specified proposed findings or
             recommendations to which objection is made. A judge of the
             court may accept, reject, or modify, in whole or in part, the
             findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
             The district judge to whom the case is assigned shall make a de
             novo determination upon the record, or after additional
             evidence, of any portion of the magistrate judge’s disposition
             to which specific written objection has been made in
             accordance with this rule. The district judge may accept,
             reject, or modify the recommended decision, receive further
             evidence, or recommit the matter to the magistrate judge with
             instructions.
FED. R. CIV. P. 72(b). In this case, no objections have been filed, and it appears to the
court upon review of Judge Zoss’s findings and conclusions, that there is no ground to
reject or modify them.      Therefore, the court accepts Judge Zoss’s Report and
Recommendation of November 13, 2006, and accepts defendant’s plea of guilty in this case
to Counts 1, 2, 3 and 4 of the information.
      IT IS SO ORDERED.
      DATED this 30th day of November, 2006.


                                                  __________________________________
                                                  MARK W. BENNETT
                                                  CHIEF JUDGE, U. S. DISTRICT COURT
                                                  NORTHERN DISTRICT OF IOWA

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